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Attorney for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING

CUSTODIA BANK, INC.,                      )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     Civil Action No. 22-CV-00125-SWS
                                          )
FEDERAL RESERVE BOARD OF                  )
GOVERNORS and FEDERAL RESERVE             )
BANK OF KANSAS CITY,                      )
                                          )
            Defendants.                   )
______________________________________________________________________________

                        PLAINTIFF CUSTODIA BANK, INC.’S
    UNOPPOSED MOTION FOR EXTENSIONS OF TIME TO DESIGNATE EXPERT WITNESSES
______________________________________________________________________________

         Custodia Bank, Inc., by and through its undersigned counsel of record, respectfully

requests extensions of the deadlines to designate expert witnesses. The Court entered a scheduling

order on June 30, 2023. (ECF 169.) Under the order, Custodia’s deadline for designating expert

witnesses is October 6, 2023, and Defendant the Federal Reserve Bank of Kansas City’s deadline

for designating expert witnesses is November 6, 2023. The Kansas City Fed made its first

production of documents on September 1, 2023, and anticipates making subsequent productions

through at least September. Custodia requests a two-week extension of the deadlines for expert

designations to allow time for document review prior to designating expert witnesses and

producing expert reports.
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       Undersigned counsel for Plaintiff has conversed with counsel for Defendant Federal

Reserve Bank of Kansas City and come to an agreement that the new deadline for Custodia’s

expert designations shall be Friday October 20, 2023 and the new deadline for the Federal Reserve

Bank of Kansas City’s expert designations shall be Monday November 20, 2023. This motion and

the request for an extension is therefore stipulated to by both parties. Additionally, the parties

agree that these extensions do not require shifting the other deadlines set in the scheduling order.

Custodia met and conferred with the Federal Reserve Board of Governors and it consents to the

relief requested herein.

       WHEREFORE, Plaintiff respectfully requests this Court grant this Motion for an

Extensions of Time to Designate Expert Witnesses.

       RESPECTFULLY SUBMITTED this 5th day of September, 2023.

                                              Custodia Bank Inc.,
                                              Plaintiff.

                                              By:     /s/ Scott E. Ortiz___________
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                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing document
was served upon counsel via the manner set forth below on this 5th day of September, 2023.

 Mark Van Der Weide                                                U.S. Mail (Postage Prepaid)
 Richard M. Ashton                                                 Email
 Joshua P. Chadwick                                                Overnight Delivery
 Yvonne F. Mizusawa                                                Hand Delivery
 Yonatan Gelblum                                                   CM/ECF System
 Katherine Pomeroy
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 20th Street and Constitutional Avenue, N.W.
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 Billie L.M. Addleman                                              U.S. Mail (Postage Prepaid)
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                                                                   _/s/ Scott E. Ortiz
                                                                   Scott E. Ortiz




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